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                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       WESTERN DIVISION

ILEANA RODRIGUEZ,                          )
                                           )
       Petitioner,                         )
                                           )
v.                                         )   Case No.: 7:20-cv-01319-ACA-JHE
                                           )
MR. GARRET,                                )
                                           )
       Respondent.                         )

                          MEMORANDUM OPINION

      On September 30, 2020, the magistrate judge entered a report and

recommendation, recommending that the court dismiss with prejudice Ileana

Rodriguez’s 28 U.S.C. § 2241 petition for a writ of habeas corpus. (Doc. 6). Ms.

Rodriguez filed timely objections to the report and recommendation. (Doc. 7).

      Ms. Rodriguez’s first objection is that the magistrate judge “clearly state[d]”

that he had not reviewed documents that she sent to the court on September 28, 2020.

(Doc. 7 at 1). To the contrary, the magistrate judge explicitly acknowledged Ms.

Rodriguez’s traverse, (see doc. 6 at 2), which is the document she references in her

objections. Ms. Rodriguez’s traverse includes medical records that she claims

demonstrate that she is a candidate for early release. Despite what Ms. Rodriguez’s

medical records might show about her risk for contracting COVID-19, the magistrate

judge properly explained that a prisoner has no constitutionally protected interest in
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her place of confinement and that no statutory authority under the CARES Act

provides a district court with authority to transfer a prisoner to home confinement.

(Doc. 6 at 2–5).          Ms. Rodriguez’s medical records do not undermine this

conclusion.1 Accordingly, the court OVERRULES Ms. Rodriguez’s first objection.

       Ms. Rodriguez’s second objection is that the magistrate judge erred by finding

that she is not entitled to pursue her claims through a petition under 28 U.S.C.

§ 2241. (Doc. 7 at 1–2). The magistrate judge properly construed Ms. Rodriguez’s

petition as one pursuant to § 2241, and again, he correctly concluded that Ms.

Rodriguez is not entitled to habeas relief. (Doc. 6 at 2–5). Therefore, the court

OVVERRULES Ms. Rodriguez’s second objection.

       Ms. Rodriguez’s third objection is that the magistrate judge erred by stating

that she cannot obtain relief in this court and must pursue her request through a

motion for compassionate relief in the court that imposed her sentence. (Doc. 7 at

2). Ms. Rodriguez correctly notes that a petitioner must file a § 2241 petition in a

court in the district in which she is incarcerated. (Id.). But this does not mean that

Ms. Rodriguez is entitled to the relief she seeks in her petition. And the magistrate

judge properly explained that to the extent she seeks compassionate release, Ms.

Rodriguez must do so by filing a motion in her underlying criminal case with the


       1
          Ms. Rodriguez asks the court to review the documents attached to her traverse. (Doc. 7
at 3). The undersigned has done so, but it does not alter the conclusion that the court may not grant
the relief Ms. Rodriguez seeks in her petition.

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sentencing court. 2 Accordingly, the court OVERRULES Ms. Rodriguez’s third

objection.

       Having reviewed de novo the entire file in this action, including the report and

recommendation, the court ADOPTS the magistrate judge’s report and ACCEPTS

his recommendation. The court WILL DISMISS Ms. Rodriguez’s 28 U.S.C. §

2241 petition for a writ of habeas corpus.

       The court will enter a separate order consistent with this memorandum

opinion.

       DONE and ORDERED this October 19, 2020.



                                         _________________________________
                                         ANNEMARIE CARNEY AXON
                                         UNITED STATES DISTRICT JUDGE




       2
       The magistrate judge further explained that Ms. Rodriguez has already filed a motion for
compassionate release with the sentencing court, and that court denied her motion. (Doc. 6 at 6).

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